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AO 106 (Rev. 04/ 10) Application for a Search Warrant



                                       UNITED STATES DISTRICT Cou T                                                 NOV - 5 2019
                                                                      for the
                                                          Souther~ District of California                  CLERK US IJIS1HI C~ COURT
                                                                                                        SOUTHl:. HN l) IS1 HiCT OF CALIFORNIA
                                                                                                        BY                            DEPUTY
              In the Matter of the Search of                             )
          (Briefly describe the property to be searched                  )
           or identify the person by name and address)                   )         Case No.
      cellular telephone assigned telephone number
       (619) 601-1577 with IME I 357093091468334
                                                                         )
                                                                         )
                                                                         )
                                                                                                 19MJ4907
                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  SEE ATTACHMENT A

located in the                                    District of _ _ _ _N
                                                                     _e_w
                                                                        _ J_e_rs_e_,_y_ _ _ _ , there is now concealed (identify the
person or describe the property to be seized) :

  SEE ATTACHMENT B

           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  ~ evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
             Code Section                                                        Offense Description
        21 U.S.C. §§ 952 , 960 , 963,               Importation of Controlled Substances; Conspiracy to Import Controlled
        846 , and 841                               Substances


           The application is based on these facts:

          SEE AFFIDAVIT

            ~ Continued on the attached sheet.
            0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                            Special Agent Jose Diego, HSI
                                                                                                 Printed name and title

 Sworn to before me and signed in my presence.


 Date :
                                                                                                   Judge 's signature

 City and state: San Diego, CA                                                  Honorable Alli son H. Goddard, U.S . Magistrate Judge
                                                                                                 Printed name and title
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 1                                  ATTACHMENT A
 2                                  Item to be Searched
 3        This warrant applies to records and information associated with the cellular
 4 telephone assigned telephone number (619) 601-1577 with IMEI 357093091468334 ("the
 5 Account"), that are stored at premises controlled by T-Mobile ("the Provider"),
 6 headquartered at 4 Sylvan Way, Parsippany, New Jersey 07504.
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 1                                      ATTACHMENT B
 2                                       Items to he Seized
 3          The officer executing the warrant shall permit T-Mobile, as custodian of the
 4 computer files described in Section II below, to locate the files and copy them onto
 5 removable electronic storage media and deliver the same to the officer.
 6     I.      Items to be provided by the Provider
 7          The following information about the customers or subscribers of the Account:
 8                   1. Names (including subscriber names, user names, and screen names);
 9                   11. Addresses (including mailing addresses, residential addresses, business
10                      addresses, and e-mail addresses);
11                  111. Local and long distance telephone connection records;
12                  1v. Records of session times and durations, and the temporarily assigned
13                      network addresses ( such as Internet Protocol ("IP") addresses)
14                      associated with those sessions;
15                   v. Length of service (including start date) and types of service utilized;
16                  v1. Telephone or instrument numbers (including MAC addresses,
17                      Electronic Serial Numbers ("ESN"), Mobile Electronic Identity
18                      Numbers ("MEIN"), Mobile Equipment Identifier ("MEID"); Mobile
19                      Identification Number ("MIN"), Subscriber Identity Modules ("SIM"),
20                      Mobile Subscriber Integrated Services Digital Network Number
21                      ("MSISDN"); International Mobile Subscriber Identity Identifiers
22                      ("IMSI"), or International Mobile Equipment Identities ("IMEi");
23                 v11. Other subscriber numbers or identities (including the registration
24                      Internet Protocol ("IP") address); and
25                 v111. Means and source of payment for such service (including any credit
26                      card or bank account number) and billing records.
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 1               b. All records and other information (not including the contents of
 2                 communications) relating to wire and electronic communications sent or
 3                 received by the Account, including:
 4                     1. the date and time of the communication, the method of the
 5                       communication, and the source and destination of the communication
 6                       ( such as the source and destination telephone numbers (call detail
 7                       records), email addresses, and IP addresses);
 8                    11. Cell site locations and sectors for all outgoing and incoming voice,
 9                       SMS, MMS, and Data transactions;
10                   m. All available Timing Advance Reports, currently known as True Call,
11                       to include cell site, sector, and distance from tower, IP session and
12                       Data; and
13                   1v. All available Mobile Data Session and IPv6 reports.
14      II.     Information to be Seized by the Government
15            All information described in Section I that constitutes evidence, fruits, and
16 instrumentalities of violations of21 U.S.C. §§ 952, 960, 963, 846, and 841 and involving
17 Christopher SULLIVAN during the period of April 23 through August 10, 2018.
18            Law enforcement personnel (who may include, in addition to law enforcement
19 officers and agents, attorneys for the government, attorney support staff, agency personnel
20 assisting the government in this investigation, and outside technical experts under
21   government control) are authorized to review the records produced by the Provider in order
22 to locate the things particularly described in this Warrant.
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 1      AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
 2         I, Special Agent Jose Diego, having been duly sworn, do hereby state that the
 3 following is true and correct to my knowledge and belief.
 4                                      INTRODUCTION
 5         1.    I make this affidavit in support of an application for information associated
 6 with the phone number (619) 601-1577, with International Mobile Equipment Identity
 7 ("IMEI") 357093091468334 (the "Account"), including subscriber information, telephone
 8 toll data, and cell-site geo-location information for the period of April 23, 2018 up to and
 9 including August 10, 2018.
10        2.     I previously obtained a warrant to obtain this data for the date range of August
11   10 through August 24, 2018. See 19-MJ-1365 (S.D. Cal. April 4, 2019). Based on
12 continued investigation, I now seek this data for the date range noted in this application.
13 Except for Paragraphs 22 and 23 of this affidavit, the showing of probable cause for this
14 application is the same as in the prior application. Paragraphs 22 and 23 provide new
15 information to support the request for the date range in this application. Taken together,
16 my two applications seek six months of location data for SULLIVAN, to the date of arrest.
17        3.     As set forth below, probable cause exists to believe that the Account contains
18 evidence of conspiracy to import controlled substances, and importation of controlled
19 substances, in violation of 21 U.S.C. §§ 952, 960, and 963, as well as evidence of
20 conspiracy to distribute and possess with intent to distribute controlled substances, and
21 possession with intent to distribute and distribution, in violation of 21 U.S.C. §§ 846 and
22 841.
23        4.     The Account is currently in the possession of T-Mobile, headquartered at 4
24 Sylvan Way, Parsippany, New Jersey 07504. This affidavit is made in support of an
25 application for a search warrant under 18 U.S.C. § 2703(c)(l)(A) to require T-Mobile to
26 disclose to the government copies of the information further described in Section I of
27 Attachment B. Upon receipt of the information described in Section I of Attachment B,
28 government-authorized persons will review the information to locate items described in
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 1 Section II of Attachment B. This Court has jurisdiction to issue this warrant because· it is
 2 "a district court of the United States (including a magistrate judge of such a court)" that
 3 "has jurisdiction over the offense being investigated." 18 U.S.C. §§ 2703(c)(l)(A),
 4 2711(3)(A).
 5                             TRAINING AND EXPERIENCE
 6         5.    I am a Special Agent with the United States Department of Homeland Security
 7 United States Immigration and Customs Enforcement, Homeland Security Investigations
 8 ("HSI"). I am currently assigned to the Documents and Benefits Fraud Task Force, and
 9 was previously assigned to San Ysidro Narcotics Groups III and V. I have been an HSI
1O Special Agent since June 2016.
11         6.    Prior to becoming an HSI Special Agent, I was employed by Enforcement and
12 Removal Operations as an Officer and Agent from December 2012 to June 2016. I was
13 also employed by CBP as an Officer from October 2008 to December 2012, and by the
14 United States Border Patrol as an Agent from December 2007 to August 2008.
15         7.    I am a graduate of the Federal Law Enforcement Training Center Criminal
16 Investigator Training Program and the Immigration and Customs Enforcement Special
17 Agent Training course. During these courses, I was trained in various types of criminal
18 investigations, including investigations involving the illegal trafficking of narcotics,
19 currency, firearms and contraband.
20         8.    I am a federal law enforcement officer within the meaning of Rule 41 ( a)(2)(C)
21   of the Federal Rules of Criminal Procedure. I am authorized under Rule 4l(a) to make
22 applications for search and seizure warrants and to serve arrest warrants. I am authorized
23 to investigate violations of laws of the United States and to execute warrants issued under
24 the authority of the United States.
25         9.    My training and experience in narcotics enforcement has included narcotics
26 interdiction, the identification of different types of narcotics, including methamphetamine,
27 and the investigation of persons in possession of narcotics for purposes of sales and
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 1 transportation. In addition, I speak regularly with other narcotics investigators regarding
 2 the manner in which sellers of narcotics store, transport and sell narcotics.
 3         10.   In the course of my duties, I have been a case agent directing drug-related
 4 investigations. I have participated in many aspects of criminal investigations including
 5 reviewing evidence, conducting physical and electronic surveillance, and executing search
 6 and arrest warrants. I have interviewed defendants and witnesses while conducting various
 7 investigations. I have gained a working knowledge and insight into the normal operational
 8 habits of narcotics traffickers, with particular emphasis on those who attempt to import
 9 narcotics into the United States from Mexico at the San Diego international ports of entry.
10         11.   The following is based on my own investigation, oral and written reports by
11   other law enforcement officers, interviews, subpoenaed and public records, database
12 checks, and other investigations. Since this affidavit is for a limited purpose, I have not
13 included every fact I know about this investigation. I set forth only facts necessary to
14 establish foundation for the requested search warrant application. Conversations and
15 discussions below are set forth in substance unless noted.
16                      FACTS IN SUPPORT OF PROBABLE CAUSE
17         12.   According to a report prepared by CBP Officer I. Harvey, at about 5:20 a.m.
18 on August 24, 2018, Christopher Sullivan ("SULLIVAN") applied for admission to the
19 United States at the Otay Mesa, California, Port of Entry, as the driver and sole visible
20 occupant of a white 2003 Acura MDX, bearing California license plates (the "Vehicle").
21   The Otay Mesa Port of Entry is located within the Southern District of California.
22         13.   CBP Officer Harvey's report noted that SULLIVAN presented his California
23 driver's license, gave two negative customs declarations, and said he was driving to
24 Murrieta-a city I know to be in southern California. Officer Harvey asked SULLIVAN
25 where his passport was, and SULLIVAN said he had forgotten it. When Officer Harvey
26 asked where SULLIVAN had forgotten the passport, SULLIVAN then said he believed he
27 had lost it. Due to a computer-generated alert, Officer Harvey referred SULLIVAN to
28 secondary inspection.
                                                 3
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 1         14.   According to the report of CBP Officer C. Weidow, in secondary inspection,
 2 Officer Weidow scanned the Vehicle using the "Z-Portal" X-Ray machine. That scan
 3 showed anomalies in the passenger-side rear quarter panel of the Vehicle.
 4         15.   While the Vehicle was in secondary inspection, and per his report, CBP
 5 Officer M. Manders also walked a K-9 Unit around the Vehicle, and the K-9 alerted on the
 6 quarter panel.
 7         16.   According to the report of CBP Officer M. Kwan, at about 6:30 a.m., Officer
 8 Kwan did a physical search of the Vehicle. CBP Officer Kwan drilled a hole into the quarter
 9 panel and accessed the area, and was able to extract 18 packages of a substance with a
1O crunchy, crystalline appearance. The substances field-tested positive as methamphetamine.
11 In total, the 18 packages comprised about 21.95 pounds (gross). After field-testing these
12 packages, Officer Kwan placed SULLIVAN under arrest.
13         17.   After being placed under arrest, SULLIVAN received his Miranda rights at
14 about 12:13 p.m., and requested an attorney. SULLIVAN's cellular phone was seized
15 during the process of searching the Vehicle and placing SULLIVAN under arrest. (After
16 receiving and invoking his Miranda rights, SULLIVAN was transported to a nearby
17 medical facility due to concerns about drug and alcohol consumption.)
18         18.   According to the report of Officer K. Matsunaga, at about 8:30 p.m. that day,
19 Officer Matsunaga looked at the Vehicle again while it was still in the secondary lot, and
20 saw that some of the floor carpeting was disturbed. Officer Matsunaga opened the rear
21 passenger side door and pried back the plastic cover of the armrest box, where Officer
22 Matsunaga found additional wrapped packages. Officer Matsunaga then opened the front
23 passenger door and removed the side panel of the center console area, and found additional
24 wrapped packages. Officer Matsunaga informed the lead CBP Officer, who had a K-9 unit
25 brought to the Vehicle; the K-9 alerted to the Vehicle.
26         19.   At this point, per the reports of Officer Matsunaga and Officer C. Mansouri,
27 Officer Mansouri extracted and seized the additional packages in the area of the center
28 console. At about 8:45 p.m., Officer Mansouri reviewed the area and found 22 packages;
                                                4
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 1 samples of these packages also field-tested positive as methamphetamine. These 22
 2 packages comprised about 26.80 pounds (gross).
 3         20.    I have reviewed the contents of SULLIVAN's phone under a search warrant
 4 issued by this Court. See 19-MJ-101 MSB. Among other items, the phone contains pictures
 5 and videos of SULLIVAN, and text-based communications, tending to demonstrate that he
 6 used it up until the day of his arrest. Further, from my review I have confirmed that the
 7 phone number for this phone is (619) 601-1577. The Account information being sought by
 8 this application is for the phone seized from SULLIVAN.
 9         21.    I have reviewed information about SULLIVAN's border-crossing activity
1O with the Acura MDX when it bore the license plate that it had at the time of arrest. The
11 information indicates that SULLIVAN crossed the border between the United States and
12 Mexico, at a Port of Entry, on August 10, 13, 14, 15, 16, 17, 22, and 24. On each of these
13 occasions, he crossed the border between 5:00 a.m. and 6:00 a.m., Pacific Time. I am also
14 aware from this review that the Vehicle crossed the border at the San Ysidro and Otay
15 Mesa Ports of Entry on the same dates and at the same times. The records also show that
16 on August 15, the Vehicle left the United States and entered Mexico at the Otay Mesa Port
17 of Entry at 3:13 p.m.; and that on August 16, it left the United States and entered Mexico
18 at 8:16 p.m. I am aware that in general, the DHS records system documents when people
19 enter the United States from Mexico, and that departures at the Otay Mesa Port of Entry
20 were also recorded during August 2018. I infer from these records that SULLIVAN entered
21 the United State from Mexico, driving the Vehicle, on the mornings of the above-noted
22 dates, and that he both entered the United States and returned to Mexico on August 15 and
23   16.
24         22.    From my review of the data that I have obtained for the Account, I have seen
25 evidence that SULLIVAN drove the Acura MDX over the border, to areas north of San
26 Diego for brief periods of time, and then back south. Specifically, it appears that
27 SULLIVAN made such trips on August 9, 10, 13, 14, and 15. From my training and
28 experience, I believe that this pattern of activity is consistent with courier activity, in that
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 1 it suggests SULLIVAN drove his car north for the purpose of making a delivery and then
 2 returned to Mexico.
 3         23.     I have also reviewed additional border-crossing activity of SULLIVAN that
 4 suggests additional relevant border-crossing activity. Specifically, I have seen evidence
 5 that SULLIVAN crossed the border frequently between April 2018 and August 2018. 1
 6 Moreover, it appears to me that SULLIVAN crossed the border using the Acura MDX both
 7 when it had the license plate registered to him (i.e., the plate on the car when he was
 8 arrested) and a license plate attributable to the prior owner. Prior to crossing the border
 9 with the Acura MDX on these two plates,
10         24.     Based upon my experience investigating drug smuggling, my training, and my
11 consultation with other investigators who have experience investigating drug smuggling in
12 near the border, I understand that drug smugglers will seek to smuggle drugs from Mexico
13 to the United States by hiding the drugs in hidden compartments of cars, and in non-factory
14 compartments (i.e., compartments that the manufacturer did not design for ordinary use).
15 Smugglers will then drive north from Mexico and seek to pass through POEs with the drugs
16 undetected. I am also aware that such individuals will sometimes try to generate a history
17 of crossings to show that driving through a POE is ordinary behavior for them. When they
18 arrive in the United States, smugglers will take the drugs to a discreet location to transfer
19 them to other people involved in the distribution chain, who can then send the drugs to
20 other locations for downstream distribution.
21         25.     Based upon my training and experience as a Special Agent, and consultations
22 with law enforcement officers experienced in narcotics trafficking investigations, and all
23 the facts and opinions set forth in this affidavit, I further submit the following:
24               a. Drug smugglers use cellular telephones because the devices are mobile
25
26   1
     During the date range requested, SULLIVAN had several gaps of a one to two weeks in
27 which he did not cross the border. Specifically, it appears he did not enter between May 11
   and May 25; between May 25 and June 20; and between June 30 and July 12. Apart from
28 these ranges, he entered nearly on a daily basis.
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 1                 and provide instant access to telephone calls, texts, internet, application-
 2                 based communications platforms (e.g., WhatsApp ), and voice messages;
 3              b. Drug smugglers use cellular telephones because they are able to actively
 4                 monitor the progress of the illegal cargo while the conveyance is in transit;
 5              c. Drug smugglers and their accomplices use cellular telephones because the
 6                 phones help them arrange for the delivery of cargo at predetermined locations
 7                 and monitor/ plan for arrival times;
 8              d. Drug smugglers use cellular telephones to direct couriers to synchronize drop
 9                 off and pick up times of the illegal cargo;
10              e. Drug smugglers use cellular telephones to notify or warn accomplices about
11                 law-enforcement activity, such as the presence and posture of marked and
12                 perceived unmarked patrol vehicles, or the operational status of border
13                 checkpoints and border crossings;
14              f. The use of cellular telephones by smugglers tends to generate evidence stored
15                 on the cellular telephones, including but not limited to emails, text messages,
16                 application-based communications, photographs, audio files, call logs,
17                 address book entries, IP addresses, social network data, and location data; and
18              g. Subscriber Identity Module (SIM) Cards, also known as subscriber identity
19                 modules, are smart cards that store data for cellular telephone subscribers.
20                 Such data includes user identity, location and phone number, network
21                 authorization data, personal security keys, contact lists and stored text
22                 messages. Much of the evidence generated by a smuggler's use of a cellular
23                 telephone would likely be stored on any SIM Card that has been utilized in
24                 connection with that telephone.
25        26.      Given the facts surrounding SULLIVAN's arrest, my review ofSULLIVAN's
26 border-crossing activity during the months prior to his arrest, and based upon my
27 experience and training, as well as consultation with other law enforcement officers
28 experienced in drug smuggling investigations, I submit that there is probable cause to
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 1 believe SULLIVAN used the phone associated with the Account, and that information
 2 relevant to the smuggling activities of SULLIVAN will be found in a review of the
 3 Account. Based on the foregoing and in light of my training and experience, I further
 4 submit that there is probable cause to authorize a review of the Account for the time period
 5 of April 23 to August 10, 2018.
 6         27.   In my training and experience, I have learned that T-Mobile is a company that
 7 provides cellular telephone access to the general public. I also know that providers of
 8 cellular telephone service have technical capabilities that allow them to collect and
 9 generate information about the locations of the cellular telephones to which they provide
10 service, including cell-site data, also known as "tower/face information" or "cell
11 tower/sector records." Cell-site data identifies the "cell towers" (i.e., antenna towers
12 covering specific geographic areas) that received a radio signal from the cellular telephone
13 and, in some cases, the "sector" (i.e., faces of the towers) to which the telephone connected.
14 These towers are often a half-mile or more apart, even in urban areas, and can be 10 or
15 more miles apart in rural areas. Furthermore, the tower closest to a wireless device does
16 not necessarily serve every call made to or from that device. Accordingly, cell-site data
17 provides an approximate location of the cellular telephone but is typically less precise than
18 other types of location information, such as E-911 Phase II data or Global Positioning
19 Device ("GPS") data.
20         28.   Based on my training and experience, I know that T-Mobile can collect cell-
21   site data about phones, including information constituting the Account. I also know that
22 wireless providers such as T-Mobile typically collect and retain cell-site data pertaining to
23 cellular phones to which they provide service in their normal course of business in order to
24 use this information for various business-related purposes.
25         29.   Based on my training and experience, I know that wireless providers such as
26 T-Mobile typically collect and retain information about their subscribers in their normal
27 course of business. This information can include basic personal information about the
28 subscriber, such as name and address, and the methods of payment (such as credit card
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 1 account number) provided by the subscriber to pay for wireless telephone service. I also
 2 know that wireless providers such as T-Mobile typically collect and retain information
 3 about their subscribers' use of the wireless service, such as records about calls or other
 4 communications sent or received by a particular phone and other transactional records, in
 5 their normal course of business. In my training and experience, this information may
 6 constitute evidence of the crimes under investigation because the information can be used
 7 to identify the user or users of the phone associated with the Account, and may assist in the
 8 identification of co-conspirators.
 9                                        CONCLUSION
10         30.   Based on the foregoing, I request that the Court issue the proposed search
11 warrant, pursuant to 18 U.S.C. § 2703( c) and Federal Rule of Criminal Procedure 41.
12         31.   Based upon my training and experience, consultation with other law
13 enforcement officers experienced in extortion investigations, and all the facts and opinions
14 set forth in this Affidavit, there is probable cause to believe that the Account to be seized,
15 as set forth above and in Section I of Attachment B, will be found in the location described
16 in Attachment A, and will contain evidence of violations of 21 U.S.C. §§ 952,960,963,
17 846, and 841. Therefore, I respectfully request that the Court issue a warrant authorizing
18 me, or another federal law enforcement agent, to order T-Mobile to search its corporate
19 records for the Account and to order T-Mobile to deliver the Account listed in Section I of
20 Attachment B.
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22
                                                         Jose~,~
23                                                       Homeland Security Investigations
24
   Subscribed and sworn to before me
25 this 51½ day ofNovember, 2019.
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27                                                       Hon. Allison H. Goddard
                                                         United States Magistrate Judge
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